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December 7, 2022


VIA FEDEX

Suffolk County Sheriff’s Office
CIVIL PROCESS Division
132 Portland St,
Boston, MA 02114


Re:    Robert Wright et al. v. Massachusetts Department of Public Health et al.
       Case No. 1:22-CV-11936


Dear Madam/Sir:

Enclosed please find two original Summonses and two copies of the Complaint and Civil Action Cover
Sheet in the above-referenced matter for service on the Massachusetts Department of Public Heath and
Margaret R. Cooke, Commissioner of the Massachusetts Department of Public Health, in her official
capacity both at the Boston Office of the Attorney General located at 1 Ashburton Pl. Boston, MA
02108. Please serve foregoing documents and provide proof of service and an invoice to my office at
10 Post Office Square, Suite 800 South, Boston, MA 02109.


Thank you for your time and attention to this matter. If you have any questions, please feel free to
contact me at 617-207-8670.

Very truly yours,




Peter Antonelli
(pantonelli@curranantonelli.com)


Enclosures
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                             UNITED STATES DISTRICT COURT
                                                      for the
                                       DISTRICT OF MASSACHUSETTS



                  ROBERT WRIGHT, ET AL.
                                      Plaintiff
                                                                      Civil Action No.:
                                         v.                           3:22−CV−11936−MGM

   MASSACHUSETTS DEPARTMENT OF PUBLIC
             HEALTH, ET AL.
                                     Defendant




                                        SUMMONS IN A CIVIL ACTION
To: (Defendant's name and address)




     A lawsuit has been filed against you.

    Within 21 days after service of this summons on you (not counting the day you received it) −−− or 60
days if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed. R. Civ. P. 12 (a)(2) or (3) −−− you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be
served on the plaintiff or plaintiff's attorney, whose name and address are:




     If you fail to respond, judgment by default will be entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.




 ROBERT M. FARRELL
CLERK OF COURT

  /s/ − Bethaney Healy
Signature of Clerk or Deputy Clerk


ISSUED ON 2022−11−21 14:08:53, Clerk USDC DMA
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           Civil Action No.: 3:22−CV−11936−MGM
                                                      PROOF OF SERVICE

                  (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

               This summons for (name of individual and title, if any) ________________________________

           was received by me on (date)___________________.


           I personally served the summons on the individual at (place)______________________________

           ____________________________________on (date)_________________________ ; or


           I left the summons at the individual's residence or usual place of abode with (name)_____________

           ______________________________, a person of suitable age and discretion who resides there,

           on (date) _________________ , and mailed a copy to the individual's last known address; or

           I served the summons on (name of individual)________________________________ , who is

           designated by law to accept service of process on behalf of (name of organization)_____________

           _____________________________________________ on (date) _______________; or

           I returned the summons unexecuted because_______________________________________ ; or


           Other (specify) :



           My fees are $ ________ for travel and $_________ for services, for a total of $______________.


           I declare under penalty of perjury that this information is true.



               ___________________                          _______________________________________
                          Date                                                  Server's Signature

                                                            _______________________________________
                                                                               Printed name and title



                                                            _______________________________________
                                                                                 Server's Address

Additional information regarding attempted service, etc:
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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                       DEFENDANTS


   (b) County of Residence of First Listed Plaintiff                                                    County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                               (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                        NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)

      New Civil Liberties Alliance, 1225 19th Street NW, Suite
      450, WashingtonDC 20036, 202-869-5210; Curran
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)   III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                   PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                     Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                    of Business In This State

  2    U.S. Government                 4   Diversity                                           Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                          of Business In Another State

                                                                                               Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                 Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                  Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                           FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                         310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product                 Product Liability       690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument               Liability                  367 Health Care/                                                                                    400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment           Slander                        Personal Injury                                                820 Copyrights                   430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’              Product Liability                                              830 Patent                       450 Commerce
  152 Recovery of Defaulted               Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated         460 Deportation
       Student Loans                 340 Marine                           Injury Product                                                    New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product                   Liability                                                     840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                      LABOR                        880 Defend Trade Secrets         480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle               371 Truth in Lending             Act                                                                485 Telephone Consumer
  190 Other Contract                     Product Liability           380 Other Personal           720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability     360 Other Personal                  Property Damage              Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                          Injury                      385 Property Damage          740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                     362 Personal Injury -               Product Liability        751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                         Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                    441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment                  510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                  443 Housing/                        Sentence                                                          or Defendant)                 896 Arbitration
  245 Tort Product Liability             Accommodations              530 General                                                       871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                         Employment                  Other:                       462 Naturalization Application                                             Agency Decision
                                     446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                                  950 Constitutionality of
                                         Other                       550 Civil Rights                 Actions                                                                State Statutes
                                     448 Education                   555 Prison Condition
                                                                     560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3     Remanded from              4 Reinstated or             5 Transferred from       6 Multidistrict                    8 Multidistrict
    Proceeding             State Court                            Appellate Court              Reopened                    Another District           Litigation -                     Litigation -
                                                                                                                           (specify)                  Transfer                         Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       42 USC 1983
VI. CAUSE OF ACTION Brief description of cause:

VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                       DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                          JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                               DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
11/14/2022                                                            /s/Peter Antonelli
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                   JUDGE                           MAG. JUDGE
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 ROBERT WRIGHT,

 JOHNNY KULA,


 Plaintiffs, on behalf of themselves and similarly    CASE NO: ____________
 situated others,

 v.
                                                      COMPLAINT FOR DECLARATORY
                                                      AND INJUNCTIVE RELIEF

 MASSACHUSETTS DEPARTMENT OF
 PUBLIC HEALTH, a Massachusetts agency,

 And

 MARGRET R. COOKE, Commissioner of the
 Massachusetts Department of Public Health, in
 her official capacity,

 Defendants.
                                                      JURY TRIAL DEMANDED


                                         COMPLAINT

                                  INTRODUCTORY STATEMENT

       Conspiring with a private company to hijack residents’ smartphones without the owners’

knowledge or consent is not a tool that the Massachusetts Department of Public Health (“DPH”)

may lawfully employ in its efforts to combat COVID-19. Such brazen disregard for civil liberties

violates both the United States and Massachusetts Constitutions, and it must stop now.

       DPH developed a COVID-19 contact-tracing software application (“Contact Tracing App”

or “App”) for Android mobile devices (e.g., smartphones and tablets) using an Application

Programming Interface (“API”) provided by Google, Inc. (“Google”). An initial version of the

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App was made available in April 2021, but few Massachusetts residents voluntarily installed that

version. To increase adoption, starting on June 15, 2021, DPH worked with Google to secretly

install the Contact Tracing App onto over one million Android mobile devices located in

Massachusetts without the device owners’ knowledge or permission. When some Android device

owners discovered and subsequently deleted the App, DPH would re-install it on to their devices.

The App causes an Android mobile device to constantly connect and exchange information with

other nearby devices via Bluetooth and creates a record of such other connections. If a user opts

in and reports being infected with COVID-19, an exposure notification is sent to other individuals

on the infected user’s connection record.

       Even if a user does not opt into the notification system, DPH’s Contact Tracing App still

causes the mobile device to broadcast and receive Bluetooth signals. This results in nearby devices

exchanging Rolling Proximity Identifiers (“RPI”), which are randomly generated by the App and

can be traced to each device owner with a “Key” generated by the App and held by DPH. The

exchange of data also includes device identifiers known as media access control addresses (“MAC

addresses”), which can be associated with specific device owners or locations. The exchanged

data, both random and non-random, are time-stamped and stored in each device alongside other

personal identifiers, including the device owner’s MAC address, wireless network IP addresses,

phone numbers, and personal emails. When this stored data is written onto mobile devices’ system

logs, it becomes available to DPH, Google, application developers, device manufacturers, network

providers, and other third parties with access to the logs. DPH and third parties can use the MAC

address of a device owner and other personal identifiers to trace the logged data back to determine

the individual identity of the owners. Those with access to the system logs can also use time-

stamped data regarding MAC addresses of other devices and locations with which the device



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connected to determine the owner’s past contacts, locations, and movement. In sum, DPH installed

spyware 1 that deliberately tracks and records movement and personal contacts onto over a million

mobile devices without their owners’ permission and awareness. On knowledge and belief, that

spyware still exists on the overwhelming majority of the devices on which it was installed.

       At least two dozen other States have developed COVID-19 contact-tracing apps using

Google API. These other States engaged in community outreach and encouraged their residents

to voluntarily download the apps and opt-in for contact tracing. Massachusetts, however, is the

only State to surreptitiously embed the Contact Tracing App on mobile devices that DPH locates

within its borders, without obtaining the owners’ knowledge or consent. These secret installations

not only invade owners’ reasonable expectation of privacy, but they also intrude upon owners’

property right in their mobile devices by occupying valuable storage space. Because the

Massachusetts and United States Constitutions prohibit governmental entities from unreasonable

searches and uncompensated takings, this Court should enjoin DPH’s unconstitutional scheme.

       Plaintiffs are individuals who own and use Android mobile devices and live or work in

Massachusetts. DPH installed its Contact Tracing App onto each of Plaintiffs’ Android devices

without their awareness or permission, which amounts to a computer crime under federal and

Massachusetts law. See 18 U.S.C. § 1030(a)(2); Mass. Gen. Laws Ann. ch. 266, § 120F. No

statutory authority supports DPH’s conduct, which serves no articulable public health purpose,

especially since Massachusetts has ended its statewide contact-tracing program. Plaintiffs bring

this action on behalf of a class of over one million similarly situated individuals challenging DPH’s



1
  “The term ‘spyware’ generally refers to any software that is downloaded onto a computer without
the owner’s or user’s knowledge. Spyware may collect information about a computer user’s
activities and transmit that information to someone else.” Cong. Rsch. Serv., RL32706, Spyware:
Background and Policy issues for Congress (Jan. 12, 2011), available at
https://www.everycrsreport.com/reports/RL32706.html (last visited Nov. 8, 2022).
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clandestine and ultra vires installation of spyware onto their personal mobile devices, violating

their constitutional and common-law rights to privacy and property. Pursuant to 42 U.S.C. § 1983

and other statutes, they bring this action seeking injunctive and declaratory relief, as well as

nominal damages.

                                             PARTIES

       1.      Plaintiff Robert Wright, PhD, is a Senior Faculty Fellow at the American Institute

of Economic Research (“AIER”), located in Great Barrington, Massachusetts. He splits his time

between Great Barrington and his vacation home in New Jersey. DPH’s Contract Tracing App was

downloaded onto Professor’s Wright’s Android device on or around July 1, 2021, without his

permission or awareness. Mr. Wright has since deleted the App from his Android device.

       2.      Plaintiff Johnny Kula is a resident of Windham, New Hampshire but is employed

in Massachusetts. He travels to Massachusetts daily for work and personal reasons. Mr. Kula owns

an Android device. DPH’s Contract Tracing App was downloaded onto Mr. Kula’s Android device

on or around July 1, 2021, without his permission or awareness. Mr. Kula uninstalled the App after

discovering it. However, on or around November 2021, Mr. Kula discovered the Contract Tracing

App had again been downloaded onto his Android device without his permission or awareness.

       3.      The Department of Public Health is a governmental agency of the Commonwealth

of Massachusetts with various responsibilities related to public health within that state. See Mass.

Gen. Laws Ann. ch. 17.

       4.      Margret R. Cooke is named Defendant in her official capacity as Commissioner of

the Massachusetts Department of Public Health.




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                                     JURISDICTION AND VENUE

       5.      This Court has federal-question and supplemental jurisdiction pursuant to

28 U.S.C. § 1331 and 28 U.S.C. § 1367 because the federal-law claims arise under the Constitution

and statutes of the United States.

       6.      Venue for this action properly lies in this district pursuant to 28 U.S.C. § 1391

because all Defendants reside in Massachusetts and a substantial part of the events, actions, or

omissions giving rise to the claim occurred in this judicial district.

       7.      This Court may issue a declaratory judgment and grant permanent injunctive relief

pursuant to 28 U.S.C. §§ 2201-2202.

                                      FACTUAL ALLEGATIONS

       I.      MASSACHUSETTS AND OTHER STATES LAUNCHED AND ENDED COVID-19
               CONTRACT-TRACING PROGRAMS AFTER SUCH PROGRAMS PROVED TO BE
               INEFFECTIVE

       8. In December 2019, a new coronavirus, known as SARS-CoV-2 appeared in China.

SARS-CoV-2 causes an infectious disease known as COVID-19, which spread quickly across the

world in 2020. The World Health Organization (“WHO”) declared COVID-19 a global health

emergency on January 20, 2020.

       9.      One tool that public health authorities have tried to use to control the spread of

COVID-19 is contact tracing. This method of disease mitigation involves identifying individuals




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who had contact with infected persons and notifying them of potential exposure so that they may

be tested and isolated, if appropriate.

          10.   Contact tracing was widely used and believed to be effective during the initial stage

of the pandemic. In April 2020, Massachusetts’ DPH launched a contact-tracing program to

identify and isolate residents who were infected with COVID-19.

          11.   By 2021, however, evidence indicated that “[c]ontact tracing was largely

ineffective in slowing COVID-19 virus transmission and improving public health.” 2 The perceived

efficacy of contract tracing was further undermined by the availability of vaccines and new, highly

infectious COVID-19 variants. 3

          12.   In December 2021, Massachusetts ended its program of widespread contact tracing,

at least in part due to the program’s high costs and limited effectiveness in the face of new COVID-

19 variants. 4 Dozens of other States have likewise ended their contact-tracing programs in

recognition of their limited efficacy. 5 Governor Hochul of New York, for example, ended her




2
  Jill McKeon, COVID-19 Contact Tracing Had Little Impact on Public Health, Health IT
Analytics (June 9, 2021), available at https://healthitanalytics.com/news/covid-19-contact-
tracing-had-little-impact-on-population-health (last visited Nov. 8, 2022).
3
  Caitlin Owens, Contact Tracing Fizzles Across America, Axios (Jan 28, 2022), available at
https://www.axios.com/2022/01/28/coronavirus-contact-tracing-public-health-omicron    (last
visited Nov. 8, 2022).
4
 Kay Lazar, Nearly $160 million Later, the State’s COVID-19 Contact Tracing Program Is
Ending, Bos. Globe (Dec. 16, 2021), available at
https://www.bostonglobe.com/2021/12/16/metro/nearly-160-million-later-states-covid-19-
contact-tracing-program-is-ending/ (last visited Nov. 8, 2022).
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    Id.


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State’s contact-tracing program in January 2022, explaining that “contact tracing methods used

earlier in the pandemic are no longer effective in disrupting transmission chains.” 6

       13.     In March 2022, the Centers for Disease Control and Prevention dropped its

recommendation for widespread contact tracing of the entire populace. 7

       14.     On September 18, 2022, President Biden announced on 60 Minutes that “[t]he

pandemic is over.” 8

             II. DPH WORKED WITH GOOGLE TO DEVELOP ITS CONTACT TRACING APP AND TO
                 INSTALL THE APP ONTO MILLIONS OF ANDROID DEVICES WITHOUT OWNERS’
                 AWARENESS OR PERMISSION

       15.     While DPH’s contact-tracing program was still in effect, it developed and deployed

mobile device applications to assist contact-tracing efforts.

       16.     In May 2020, Google and Apple Inc. (“Apple”) developed a mobile device API that

serves as a framework to enable public health authorities to develop their own mobile contact-

tracing apps. 9 The Google API is used to develop contact-tracing apps for the Android operating

system, and the Apple API is used for iOS devices.




6
 Karen DeWitt, NY Ends Contact Tracing, Saying It’s Not Effective Against Omicron, WXXI
News (Jan. 12, 2022), available at https://www.wxxinews.org/capitol-bureau/2022-01-12/ny-
ends-covid-contact-tracing-saying-its-not-effective-against-omicron (last visited Nov. 8, 2022).
7
 C.D.C. Drops Contact Tracing Recommendation, N.Y. Times (Mar. 2, 2022), available at
https://www.nytimes.com/live/2022/03/02/world/covid-19-tests-cases-vaccine (last visited Nov.
8, 2022).
8
 David Cohen & Adam Cancryn, Biden on ’60 Minutes’: ‘The Pandemic is over,’ Politico (Sept.
18, 2022, 8:47 PM), available at https://www.politico.com/news/2022/09/18/joe-biden-
pandemic-60-minutes-00057423 (last visited Nov. 8, 2022).
9
  David Burke, An Update on Exposure Notifications, Google (July 31, 2020), available at
https://blog.google/inside-google/company-announcements/update-exposure-notifications (last
visited Nov. 8, 2022).


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       17.     According to Google and Apple’s joint statement: “What we’ve built is not an

app—rather public health agencies will incorporate the API into their own apps that people

install.” 10 With respect to Android devices, COVID-19 contact tracing would not occur unless the

device owner were to “install or finish setting up a participating app” from a public health

agency. 11

       18.     By April 2021, public health agencies in Alabama, Arizona, California, Colorado,

Connecticut, Delaware, the District of Columbia, Guam, Hawaii, Louisiana, Maryland,

Massachusetts, Michigan, Minnesota, Nevada, New Jersey, New Mexico, New York, North

Carolina, North Dakota, Oregon, Pennsylvania, Puerto Rico, Rhode Island, South Carolina, , Utah,

Virginia, Wyoming, Washington, and Wisconsin had released their own contact-tracing apps using

the Google API for installation on Android devices. 12



10
  Google & Apple, Exposure Notification API Launched to Support Public Health Agencies (May
20, 2020), available at https://blog.google/inside-google/company-announcements/apple-google-
exposure-notification-api-launches/(last visited Nov. 8, 2022). A number of device owners
expressed concern on social media and elsewhere that Google and Apple had secretly installed
COVID-19 tracking apps on their devices without permission, but this view appears to have been
mistaken. Google’s and Apple’s APIs were not an app but rather a framework to help public health
agencies develop their own apps. See McKenzie Sadeghi, Fact Check: Google Did Not
Automatically Sign Up Android Users for COVID-19 Tracing App, USA Today (June 14, 2020),
available at https://www.usatoday.com/story/news/factcheck/2020/06/14/fact-check-android-
users-must-opt-into-covid-19-tracing-technology/5341250002/ (last visited Nov. 8, 2022).
11
   Davey Winder, Have Apple and Google Uploaded a COVID-19 Tracking App To Your Phone?
The     Facts      Behind     the    Furor,  Forbes   (July    20,    2020),    available  at
https://www.forbes.com/sites/daveywinder/2020/06/20/have-apple-and-google-suddenly-
uploaded-a-covid-19-tracking-app-to-your-phone-android-iphone-exposure-notification-contact-
tracing/?sh=322aed060545 (last visited Nov. 8, 2022) (displaying screenshot of Android device
stating that COVID exposure notifications do not activate unless device owner “install[s] or
finish[es] setting up a participating app”).
12
   Matthew Sholtz, COVID Tracking App Roundup: All of the Countries and US States that
Currently Offer Exposure Notification App, Android Police(Apr. 1, 2021),
https://www.androidpolice.com/2021/01/02/covid-tracing-apps-ens-android/ (last visited Nov. 8,
2022).
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       19.    Several foreign countries also developed and deployed contact-tracing apps using

the Google API for installation on Android devices. 13 Australia’s Department of Health, for

instance, used Google’s API to develop an app called COVIDSafe for Android devices. 14 A

government-funded study published in February 2022 found that Australia’s nationwide contact-

tracing app was unhelpful and ineffective in the country’s COVID-19 pandemic response. 15

       20.    Massachusetts DPH developed two versions of its contact-tracing apps for use on

Android devices using the Google API.

       21.    The first version, labeled “MassNotify” in the Google Play Store, became available

in or around April 2021 and—like other States’ apps—requires an Android user to affirmatively

install. It also appeared as an icon on the device’s home screen. According to the Google Play

Store, as of November 8, 2022, this version of MassNotify has been installed by only

approximately 5,000 Android users and has 50 reviews, several of which complain of the version’s

low rate of adoption. 16 For example, one reviewer stated in May 2021 that “[i]f adoption were




13
   Bobbie Johnson, The Covid Tracing Tracker: What’s Happening in Coronavirus Apps Around
the World, MIT Tech. Rev. (Dec. 16, 2020), available at
https://www.technologyreview.com/2020/12/16/1014878/covid-tracing-tracker/ (last visited
Nov. 8, 2022).
14
   Australia also used Apple’s API to develop a COVIDSafe app for use on Apple devices. See
COVIDSafe App, Austl. Gov’t Dep’t Health & Aged Care (Aug. 26, 2022), available at
https://www.health.gov.au/resources/apps-and-tools/covidsafe-app (last visited Nov. 8, 2022).
15
   Florian Vogt, et al., Effectiveness Evaluation of Digital Contact Tracing for COVID-19 in New
South Wales, Australia, 7 Lancet Pub. Health e250 (2022), available at
https://www.thelancet.com/action/showPdf?pii=S2468-2667%2822%2900010-X (last visited
Nov. 8, 2022).
16
   Google Play, MassNotify, developed by MA Department of Public Health, available at:
https://play.google.com/store/apps/details?id=gov.ma.covid19.exposurenotifications (last visited
Nov. 8, 2022).


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wider, this app might be more useful,” and another complained in June 2021 that “[i]t appears no

one else uses the app except my immediate family.” 17

           22.    This initial version of MassNotify is no longer being maintained and is not

functional. On January 20, 2022, a reviewer stated that she “tried to enter a positive self test and I

had no way to get a verification code.” 18 Another April 26, 2022 reviewer stated “When I try to

report a positive test it requests a Verification code? However, none is sent to my phone or email

address and there seems to be no way to request one be sent.” 19

           23.    The second version was originally labelled “MassNotify v.3” in the Google Play

Store, 20 but has since been re-branded as “Exposure Notification Settings Feature–MA.” This

version is referred to herein as DPH’s Contact Tracing App. Instead of making the Contact Tracing

App available for voluntary download, however, starting on or around June 15, 2021, DPH worked

with Google to “automatically distribute[]” the App to Android devices “so users don’t have to

download a separate app.” 21 In other words, the Contact Tracing App was installed onto Android

mobile devices without users’ permission or awareness. Upon information and belief, DPH and

Google developed the revised App in order to overcome Android users’ low rate of voluntary




17
     Id. (reviews of Bryant Finney and Obed Oby Almeyda).
18
     Id. (review of Katie Rabbitt).
19
     Id. (review of Chris Phillips).
20
   Ron Amadeo, Even Creepier COVID Tracking: Google Silently Pushed App to Users’ Phones,
Ars Technica (June 21, 2021), available at https://arstechnica.com/gadgets/2021/06/even-creepier-
covid-tracking-google-silently-pushed-app-to-users-phones/ (last visited Nov. 8, 2022) (“There
are two versions of the ‘MassNotify’ app on the Play Store. … A second version [is] labeled ‘v3’
in the package name[.]”).
21
     Id.


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adoption of the initial App. According to the Google Play Store, DPH’s Contact Tracing App was

installed onto over one million Android. 22 On information and belief, the overwhelming majority

of these installs were surreptitious.

         24.     The Contact Tracing App is identical to the initial MassNotify app except that it

installs without device owners’ permission. As one Google Play review explained on June 19,

2021: there are “2 different entries of this app on the playstore, one autoinstalled on my device

without permission overnight. I did some research finding myself on this [initial] one where I am

still able to install on my phone at the same time as the other that looks exactly like this, other than

the reviews and downloads. This is highly weird and disrespectful of our privacy. I wouldn’t trust

the app at all.” 23

         25.     Once “auto-installed,” DPH’s Contact Tracing App does not appear alongside other

apps on the Android device’s home screen. Rather, the App can be found only by opening

“settings” and using the “view all apps” feature. 24 Thus, by design, the typical device owner would

remain unaware of its presence.

         26.     On information and belief, DPH decided to secretly install the Contact Tracing App

onto over one million Android devices because its initial version, which required voluntary

download, was not being widely adopted by Massachusetts citizens by June 2021. Rather than




22
  Google Play, Exposure Notification Settings Feature – MA, developed by MA Department of
Public Health , available at: https://play.google.com/store/apps/details?id=gov.ma.covid19.
exposurenotifications.v3 (last visited Nov. 8, 2022).
23
     MassNotify Comments, supra note 16 (review of Josh Ciares).
24
  Abner Li, Massachusetts ‘MassNotify’ Android App Auto-Installed, But COVID Exposure Alerts
Are Not Enabled, 9to5Google (June 19, 2021, 12:29 PM), available at
https://9to5google.com/2021/06/19/massachusetts-massnotify-app/ (last visited Nov. 8, 2022).


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implement an awareness campaign to encourage voluntary adoption, like other States did, DPH

took a shortcut and mass-installed the App without device owners’ awareness or permission.

        27.     On information and belief, DPH used cell site location information (“CSLI”) to

target all Android devices located in or transported through the Commonwealth of Massachusetts

for installation.

        28.     No law or regulation authorizes DPH to install any type of software—let alone what

amounts to spyware designed to obtain location and health information—onto the Android devices

of Massachusetts residents without their awareness or permission.

        29.     As of September 22, 2022, there are approximately 1,900 reviews of DPH’s Contact

Tracing App on the Google Play Store, the vast majority of which are lowest-possible one-star

ratings. 25 A screenshot of the distribution of reviews taken on November 8, 2022, shows the

following:




        30.     Reviewers complain that, without permission, the App downloaded onto their

mobile devices, turning on the Bluetooth—likewise without permission—and hiding itself in

“settings” instead of appearing as an icon alongside all other apps on the device. Some illustrative

examples are listed below:




25
   Reviews found on Google Play, Exposure Notification Settings Feature – MA, developed by
MA Department of Public Health [hereinafter Contact-Tracing App Reviews], available at:
https://play.google.com/store/apps/details?id=gov.ma.covid19.exposurenotifications.v3   (last
visited on Nov. 8, 2022). Screenshots of quoted reviews are attached as Exhibit 1.
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          a. “I absolute did not install this on my phone. It was silently installed without
             notification. It doesn’t have an app icon—you have to go through settings and view
             all apps. This is a huge privacy and security overstep.”

          b.    “As with other people, this was downloaded without my knowledge or permission,
               but on my Samsung tablet, which has not traveled to Massachusetts. Only saw it
               because my internet protection program is set up to ask to scan new apps.”

          c. “SPYWARE?! Automatically installed without consent. It has no icon, no way to
             open this and see what it even does, which is a huge red flag. Per the notifications
             it runs on Bluetooth which is a major battery drain, and seems to want to track my
             location.”

          d. “I always turn off data, location and Bluetooth on this phone because I have VERY
             limited data, by my own CHOICE, but those settings kept getting turned on in the
             past few days, so i went into ‘my apps’ to check why and TADAAA!!
             Whaddayaknow, this app is the culprit! And it installed SILENTLY!? This could
             have cost me a LOT of $$ had I not figured it out, like most people probably
             won’t!?”

          e. “I hate this app. This downloaded onto my device without me noticing and now I
             am getting notifications everyday from it telling me to turn it’s [sic] service on. I
             can’t even open it with an icon!”

          f. “I never installed this and never saw it until I went in to update apps. It definitely
             installed on its own and I believe I caught the tail end of it installing one day when
             I saw something saying finish installing and I could never find out what that was.”

          g. “I can’t believe I just found this app on my phone. This app downloaded itself onto
             my phone. I did NOT give Google or any authority permission to do so. I also never
             opted into the Android Covid-19 notification program. This is ridiculous and utterly
             unacceptable.”

          h. “Did not install - Appeared on my phone without my consent and I didn't download.
             This is not acceptable. I understand the premise and well meaning behind the app -
             but again - my cell phone is MY personal property and the thought of someone (or
             the government) to think their app is so important to just auto-install it on my phone
             hit every level of audacity. Shame on you.”

          i. “Omg!!!! This app somehow installed itself on my phone. I uninstalled it and went
             to free up some space by getting rid of apps i dont really use, and it had already
             reinstalled itself. After i post this, I[] bet it will have reinstalled again. This app is
             harder to get rid of than Covid.” 26


26
  Id. (reviews of Shauna McCarthy, C M, Callie M, Dawn Driscoll, EggStopper5, Karla Murray,
Eliz, Doreen Gamache, and Kathleen Kenneally).
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          31.    DPH began secretly installing its Contact Tracing App onto Android mobile

devices owned by individuals who reside in or travel to or through Massachusetts on or around

June 15, 2021. On information and belief, DPH continues to secretly install the App onto Android

devices without obtaining owners’ permission or awareness. For example, on September 18, 2022,

a one-star review on Google Play stated that he or she “[d]idnt even install it” and that DPH’s

Contact Tracing App “[j]ust showed up.” 27 Another complained on September 14, 2022: “Every

time something COVID related has come up on my phone, I have denied permission and opted

out. I went to update a different app and found this had been installed and had an update as well. I

promptly uninstalled it. I wonder where the legality lies.” 28

          32.    On information and belief, DPH periodically installs the App onto all Android

devices located in or being transported through Massachusetts. To accomplish the stealth

installations of the Contact Tracing App, DPH uses an Android device’s location data to target

individuals who happen to be in Massachusetts. As a result, individuals who reside in other States

but travel to or through Massachusetts, such as Plaintiffs, will have the App installed on their

Android devices. For instance, one Google Play reviewer stated: “I am not a Massachusetts

resident and this spyware was surreptitiously installed on my phone without my consent or

notification. It keeps reinstalling itself after removal. Words cannot describe how violated this

makes me feel both from MA and Google.” 29




27
     Id. (review of Corie W).
28
     Id. (review of Brandon Engle).
29
   Id. (review of S-ro Sorcxisto); see also id. (review of David Lee) (“I work in Massachusetts but
live in another state. I wouldn't even have known about this app if I hadn't read a story on The
Liberty Daily about how the Massachusetts Department of Public Health is installing it without
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          33.     Even after a device owner uninstalls the App, the App “keeps reinstalling itself after

removal.” 30 A March 31, 2022, reviewer complained that “[t]his app installed itself secretly and I

have uninstalled it multiple times for it to keep reinstalling itself!” 31 Another reviewer said that

she “removed it and it reinstall[ed] itself.” 32

          34.     Because the App does not appear as an icon on the Android devices’ home screen,

several reviewers expressed confusion regarding how to uninstall the App even after they

discovered its presence. For example, multiple reviewers stated they do not know how to uninstall

the app even after they learned of the App’s existence. 33 On information and belief, a significant

portion of the over one million individuals on whose devices the App was secretly installed




people's permission and searched for it. As others have said there is no icon in the menu, you
have to search for it in the app portion of settings.”); id. (review of Joe Kivel) (“I don't live in
Massachusetts. I don't work in Massachusetts. I visited the state for four days this past week.
And the app was installed on my phone without my permission or knowledge. Had I not read
the article on Android Police I would not have searched my phone for it.”); id. (review of Jason
Lee) (“Why am I being prompted to update or uninstall an app I never installed in the first place.
I am not from Massachusetts and have not been there in years.”); id. (review of Maxine Kylaa)
(“Did not install this, don’t live in MA.”).
30
     Id. (review of S-ro Sorcxisto).
31
     Id. (review of Elisa Bennett).
32
  Id. (review of Beth Silvaggio); see also id. (review of Mike C.) (“This is definitely not okay that
you cannot even uninstall this app as it reinstalls itself.”); Id. (review of Branden Dion) (“Update:
just found it reinstalled AGAIN WITHOUT MY PERMISSION.”); id. (review of Scott) (“Like
others a sneak attack installation and after I uninstalled IT INSTALLED AGAIN!”).
33
   Id. (review of Shelby Christian) (“I can’t get it to uninstall.”); id. (review of Torchcat)
(“[I]nstalling apps to a person’s phone without permission and with no way to uninstall or disable
said app is bull.”); id. (review of Michael Donato) (“I did not consent to it being installed. I[t]
cannot be uninstalled.”); id. (review of Thomas Galant) (“Couldn't find a[n] icon to uninstall it
so I had to go into settings then apps to uninstall it.”).


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remains ignorant of the App’s presence or unaware of how to uninstall the App. This is by

deliberate design.

       35.     While other States have also used Google’s API to develop contact tracing

applications for Android Devices, those other States do not secretly install their apps without

device owners’ permission or awareness. Reviews of Virginia Department of Health’s app,

COVIDWISE, for instance, do not complain of secret and non-consensual installations. 34 Nor do

reviewers of New York’s COVID Alert NY app, even though there may be as many downloads of

COVID Alert NY as DPH’s Contact Tracing App. 35

       III.    DPH’S CONTACT TRACING APP EXPOSES MOVEMENT AND PERSONAL CONTACT
               INFORMATION

       36.     DPH’s Contact Tracing Apps generates for each mobile device a random “Rolling

Proximity Identifier” every 15 to 20 minutes. 36 The App causes the mobile device to broadcast the

Identifier via Bluetooth to other Bluetooth-enabled devices within range.




34
   See Google Play, COVIDWISE, developed by the Virginia Department of Health, available at
https://play.google.com/store/apps/details?id=gov.vdh.exposurenotification&hl=en_US&gl=US
(last visited Nov. 8, 2022).
35
  See Google Play, COVID Alert NY, Developed by the New York State Department of Health,
available at https://play.google.com/store/apps/details?id=gov.ny.health.proximity (last visited
Nov. 8, 2022) (indicating over one million downloads).
36
    Exposure Notification: Bluetooth Specification, Google (Apr. 2020), available at
https://blog.google/documents/70/Exposure_Notification_-_Bluetooth_Specification_v1.2.2.pdf/
(last visited Sept. 22, 2022);Exposure Notification: Cryptography Specification, Google (Apr.
2020),        available       at     https://blog.google/documents/69/Exposure_Notification_-
_Cryptography_Specification_v1.2.1.pdf/ (last visited Nov. 8, 2022).


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       37.     The App also causes the mobile device to broadcast a MAC address via Bluetooth,

which is a sequence of characters that identifies a device on a network. 37 Each mobile device has

a MAC address that can be used to identify the owner.

       38.     MAC addresses are also readily associated with specific locations. For example, an

open-source project called “Wigle” maintains a publicly searchable database associating MAC

addresses with specific locations. 38 Thus, knowing when an individual’s device connected with a

MAC address associated with a specific location—such as a store—would provide knowledge of

the device owner’s location at a particular time. And a series of such data points would provide a

reasonably precise timeline of the device owner’s movement.

       39.     The App also causes the user’s mobile device to receive RPIs and MAC addresses

that are broadcast by other devices within Bluetooth range.

       40.     The App records all RPIs and MAC addresses that it broadcasts and receives, along

with the precise time and estimated distance from the source based on the Bluetooth signal

strength.

       41.     Android devices host a “system log” for logging device metrics, which application

developers, device manufacturers, and network operators use for evaluation purposes.

       42.     System log files enable application developers and others to obtain data for

evaluating the stability and reliability of their applications. As such, the system logs exist to

transmit information in the logs from the phone to certain application developers.



37
   Media Access Control Address (MAC Address), Techopedia (Nov. 18, 2014), available at
https://www.techopedia.com/definition/5301/media-access-control-address-mac-address (last
visited Nov. 8, 2022).
38
   Wigle, https://wigle.net (last visited Sept. 22, 2022); see also MAC Address Vendor Lookup,
https://macaddress.io/ (last visited Nov. 8, 2022).


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        43.     Android system log files are transmitted to application and operating system

developers, device manufacturers, and network providers in the ordinary course of the phones’

operation. For example, system log data is commonly transmitted as part of “crash reporting.”

When an application unexpectedly stops working, the system log will be transmitted to the

developer to inspect and identify errors.

        44.     The system log of each mobile device contains personal identifying information,

including the smartphone’s permanent MAC address and its “name.” Other identifiers include the

name of wireless networks to which the device connects, the MAC address of the wireless network

router to which the device connects, and the email address of the device owner’s Google account.

According to research on the Google API funded by the Department of Homeland Security: “An

entity that collects logs can also be associated [a MAC address] to the user’s identity,” in part

because such an entity could “get the email and phone number of a device, [and] there are other

persistent identifiers that can be accessed as well.” 39

        45.     For mobile devices on which DPH’s Contact Tracing App is installed, RPIs and

MAC addresses broadcast and received by the device are placed on the system log. An entity with

access to system logs of multiple devices would know which MAC addresses are associated with

each device and thus could determine when individual device owners were in close proximity with

one another. An entity with access to a device’s system log could further correlate received MAC




39
  Joel, Reardon, Why Google Should Stop Logging Contact-Tracing Data, AppCensus Blog (Apr.
27, 2021), available at https://blog.appcensus.io/2021/04/27/why-google-should-stop-logging-
contact-tracing-data/(last visited Sept. 22, 2022).


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addresses with MAC addresses associated with known fixed locations, thereby determining where

the device owner has been. 40

       46.     In sum, an entity with access to the system log of a mobile device on which the

Contact Tracing App is installed would be able to identify the owner of the device by inspecting

the phone’s MAC address, email, phone name, and other non-random identifiers in the system log.

The entity would also have a historical record of MAC addresses of other individuals and locations

to which the device owner had been in close proximity. This information enables a person with

access to identify the device owner and construct a timeline of locations where he or she has

travelled and of individuals with whom the device owner has been in close contact.

       47.     On information and belief, the Contact Tracing App gives DPH access to system

logs of Android devices on which the App is installed, allowing DPH (and potentially others) to

identify device owners and determine their past movement and personal contacts, all without their

consent.

       48.     On information and belief, countless other app developers have access to system

logs of Android devices. 41 By installing the Contact Tracing App on an Android device without



40
   Id. (“An entity that collects users logs can turn the RPI they hear into the corresponding MAC
address; with access to existing databases, they can turn the MAC address into a geolocation. This
allows them to learn a location history of a user based on geolocating the RPIs they hear.”).
41
   For example, Samsung’s privacy policy states that “information we may collect automatically
includes information about: your device, including MAC address, IP address, log information ….”
Samsung Privacy Policy for the U.S., Samsung (Oct. 1, 2021), available at
https://www.samsung.com/us/account/privacy-policy/(last visited Sept. 22, 2022); Xiaomi, a
Chinese electronics company that develops smartphones and apps, likewise states in its privacy
policy that it collects “standard system logs” from customers. Xiaomi Privacy Statement (Jan. 15,
2021), available at https://privacy.mi.com/all/en_US/ (last visited September 22, 2022). Facebook
and Instagram also explicitly state that they collect “unique identifiers, device IDs and other
identifiers, such as from game, apps or accounts you use.” Instagram Data Policy, Meta (Jan. 4,
2022), available at https://help.instagram.com/155833707900388/ (last visited September 22,
2022);        Privacy       Policy,     Meta       (July     26,      2022),      available     at
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its owner’s awareness or permission, DPH exposes that device owner’s past movements and

personal contacts to these other developers with system log access. 42

       49.     In April 2021, users of Android contact-tracing apps developed using Google’s API

filed a class action lawsuit against Google alleging that such apps “leav[e] users’ private health

information unprotected on Android device ‘system logs’ to which Google and third party app

developers had routine access.” Brief in Support of Preliminary Settlement Approval at 4, Diaz v.

Google LLC, No. 5:21-cv-03080-NC (N.D. Cal. May 6, 2022), ECF No. 64. Google agreed to

settle that lawsuit in May 2022. Id. at 9.

       50.     Even though the App is downloaded and collects data without user permission or

awareness, the device owner must enable the exposure notification functionality to join DPH’s

COVID-19 reporting system. 43

       51.     Even if an App user does not enable exposure notification, his or her mobile device

would still broadcast and receive Bluetooth signals and record MAC addresses of other Bluetooth

devices with which he or she comes into contact. 44 This information is saved on the mobile


https://www.facebook.com/about/privacy (last visited Nov. 8, 2022) (collecting “identifiers that
tell your device from other users’”).
42
   Nicole Wetsman, Android Bug Exposed COVID-19 Contract Tracing Logs to Preinstalled Apps,
Verge          (Apr.        27,        2021,          10:20         AM),          available         at
https://www.theverge.com/2021/4/27/22405425/android-google-contact-tracing-bug-privacy
(last visited Nov. 8, 2022) (“The Android version of Google and Apple’s COVID-19 exposure
notification app had a privacy flaw that let other preinstalled apps potentially see sensitive data”).
43
   If an App user enables exposure notification and reports a positive COVID-19 diagnosis, that
result is submitted through DPH’s Contact Tracing App. On information and belief, the user’s
Keys are uploaded to a server maintained by DPH, and the user is designated as COVID-19
infected. DPH’s App then uses the record of RPIs that the infected user has come into contact with
over the past fourteen days and sends exposure notifications regarding the date, duration, and
distance of the exposure to other App users corresponding to those RPIs.
44
   Numerous Google Play reviewers complain that the App causes their Android devices to
broadcast over Bluetooth without their permission. See, e.g., Contact-Tracing App Reviews, supra
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device’s system log, and anyone, including DPH, with access to the log would be able to retrace

the App user’s past location and contacts.

       52.     On May 27, 2020, Arizona filed a lawsuit against Google alleging that “individual

users of Google products and services are the targets of a sweeping surveillance apparatus designed

[by Google] to collect their behavioral data en masse, including data pertaining to user location.”

Redacted Complaint ¶ 6, State of Arizona v. Google LLC, No. CV2020-006219 (AZ Super. Ct.

May 27, 2020). 45 On October 4, 2022, Google agreed to pay an $85 million settlement to resolve

Arizona’s claims that it illegally tracked the location of Android device users. Malathi Nayak,

Google to Pay $85 Million to End Arizona Consumer-Privacy Suit, Bloomberg (Oct. 4, 2022). 46

       53.     On January 24, 2022, Attorneys General from Washington D.C., Indiana, Texas,

and Washington also filed separate lawsuits against Google alleging “that the search giant deceived

consumers to gain access to their location date.” 47 The Washington D.C. lawsuit, for instance,



note 25 (review of David Greiner) (“Installed without consent. Completely messed up my
Bluetooth and I couldn’t figure out what was going on until I uninstalled this.”); id. (review of
Dawn Driscoll) (“I always turn off data, location and Bluetooth on this phone because I have
VERY limited data, by my own CHOICE, but those settings kept getting turned on in the past few
days, so i went into ‘my apps’ to check why and TADAAA!! Whaddayaknow, this app is the
culprit! And it installed SILENTLY!”); id. (review of Laura) (“Why did the state I live in install
an app on my phone without my permission? The app is completely useless, and yet it demands
my location and sucks up my battery life using Bluetooth.”). Screenshots of quoted reviews are
attached as Exhibit 1.
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  Available at: https://www.azag.gov/sites/default/files/2021-
05/Complaint%20%28redacted%29.pdf
46
  Available at: https://www.bloomberg.com/news/articles/2022-10-04/google-to-pay-85-
million-to-end-arizona-consumer-privacy-suit?sref=ExbtjcSG (last visited Nov. 8, 2022).
47
   Cat Zarkrezwski, Google deceive consumers about how it profits from their location data,
attorneys general allege in lawsuits, Washington Post (Jan. 24, 2022), available at:
https://www.washingtonpost.com/technology/2022/01/24/google-location-data-ags-lawsuit/ (last
visited Nov. 8, 2022).


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claims that “[s]ince at least 2014, Google deceived consumers regarding how their location is

tracked and used[.]” Complaint for Violations of the Consumer Protection Procedure Act ¶ 2,

District of Columbia v. Google, LLC, No. 2022 CA 000330 B (D.C. Super. Ct. Jan. 24, 2022). 48

According to these that complaint, “[t]hrough sensors and APIs installed on Android Devices,

Google can track the precise location of a device on a continuous basis.” Id. ¶ 21 (footnote

omitted). When a “device scans for nearby Wi-Fi access points or Bluetooth devices, [it] can help

Google interpret the user’s location.” Id. ¶ 43.

       54.      Despite being aware of these privacy and consumer-protection allegations

concerning Google’s API and Bluetooth scans, DPH continues to secretly install the Contact

Tracing App, which is based on Google’s API and enables Bluetooth scans, onto Android devices

without their owners’ consent or awareness.

       IV.      SECRET INSTALLATION OF DPH’S CONTACT TRACING APP IS STATE ACTION

       55.      State action is established when there is “sufficiently close nexus between the State

and the challenged action of the [private] entity so that the action of the latter may be fairly treated

as that of the State itself.” Jackson v. Metro. Edison Co., 419 U.S. 345, 351 (1974); see also Skinner

v. Ry. Lab. Execs.’ Ass’n, 489 U.S. 602, 614 (1989) (“Although the Fourth Amendment does not

apply to a search or seizure, even an arbitrary one, effected by a private party on his own initiative,

the Amendment protects against such intrusions if the private party acted as an instrument or agent

of the Government.” (collecting cases)); United States v. Feffer, 831 F.2d 734, 737 (7th Cir. 1987)




48
   Available at: https://oag.dc.gov/sites/default/files/2022-01/DCv.Google%281-24-22%29.pdf
(last visited Nov. 8, 2022).
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(“The government may not do, through a private individual, that which it is otherwise forbidden

to do.”).

          56.    The downloading of the Contract Tracing App onto Android devices constitutes

state action. Massachusetts DPH developed the app using API provided by Google, and Google

has explicitly stated that its employees “have been working with the Massachusetts Department of

Public Health” to ensure the App would be “automatically distributed” onto Android devices.” 49

These “clear indices of Government’s encouragement, endorsement, and participation”

demonstrates that Google acted as an instrumentality of DPH when it installed DPH’s Contact

Tracing App onto millions of Android devices without their owners’ permission or awareness.

Skinner, 489 U.S. at 614.

          V.     SECRET INSTALLATION OF DPH’S CONTACT TRACING APP CAUSES PLAINTIFFS
                 CONCRETE AND IRREPARABLE HARM

          57.    Defendants’ actions have caused, and will continue to cause, Plaintiffs to suffer

concrete and irreparable harm.

          58.    Plaintiffs have constitutional interests in not having their whereabouts and contacts

surveilled, recorded, and broadcast.

          59.    Plaintiffs also have constitutional and common-law property interests in not having

an app, especially one that they did not want or agree to have installed, use up the Plaintiffs’

monthly data allowances for their mobile devices (smartphones and tablets) or drain the batteries

by having their devices be forced to broadcast Bluetooth signals.




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     Li, supra note 24


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       60.      Plaintiffs also have an interest in preventing unauthorized and unconsented to

access to their personal Android devices by government agencies and others, particularly where

such access is for the purpose of obtaining information from them (i.e., conducting a search).

       61.      Defendants worked with Google to download the App onto mobile devices without

device owners’ permission or knowledge, merely because those device owners happened to live

in or be travelling through Massachusetts.

       62.      This App tracks Plaintiffs’ whereabouts and contacts and records data that allows

the State to retrace their movement over a long period of time. This is true even if Plaintiffs do not

enable the App’s exposure notification feature. When Plaintiffs deleted the Contact Tracing App,

DPH surreptitiously re-installed it onto their Android devices. Plaintiffs expect that the process

will repeat should they attempt to delete the Contact Tracing App again.

       63.      Accordingly, Defendants’ actions have caused and will continue to cause Plaintiffs

irreparable harm, including but not limited to the loss of their constitutional and common-law

rights to privacy and property and the unauthorized access to their personal Android devices.

       VI.      CLASS ALLEGATIONS

       64.      Plaintiffs bring this action on behalf of the following class: All persons in the

United States on whose smartphones or mobile devices DPH, working with Google, installed its

Contact Tracing App without the device owner’s permission.

       65.      The prerequisites of maintaining a class action under Federal Rule of Civil

Procedure 23(a) are satisfied:

             a. Numerosity: the class of individuals on whose mobile devices the App was secretly

                downloaded exceeds one million members.




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              b. Commonality: common questions of law and facts apply to all class members

                 because they have been injured by the same illegal conduct, i.e., secret installation

                 of spyware onto their mobile devices that enable location tracking. These common

                 questions are susceptible to common answers.

              c. Typicality: the claims of the named Plaintiffs are the same as those of the class

                 members.

              d. Adequacy: the named Plaintiffs have no conflicts of interest and counsel have

                 requisite experience to represent the class.

        66.      The prerequisites of maintaining a class action under Federal Rule of Civil

Procedure 23(b)(2) are satisfied because DPH’s unlawful action applies to the entire class, and

Plaintiffs seek injunctive and declaratory relief, along with nominal damages, with respect to the

class as a whole.

                                         CLAIMS FOR RELIEF

  Count I: 42 U.S.C. § 1983 - Violation of the Fourth Amendment to the U.S. Constitution

        67.      Plaintiffs reallege and incorporate by reference the foregoing allegations as if fully

set forth herein.

        68.      The U.S. Constitution protects individuals from unreasonable searches and seizures

by government actors. See U.S. Const. amend. IV. The Fourth Amendment is incorporated against

the States. See Mapp v. Ohio, 367 U.S. 643, 660 (1961).

        69.      The Fourth Amendment applies when a private party acts as an instrument or agent

of the government. See Skinner, 489 U.S. at 614.

        70.      A Fourth Amendment search occurs when government action intrudes into an

individual’s reasonable expectation of privacy. California v. Ciraolo, 476 U.S. 207, 211 (1986);



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United States v. Jacobsen, 466 U.S. 109, 113 (1984). “[A]n individual maintains a legitimate

expectation of privacy in the record of his physical movements as captured through [digital

surveillance].” Carpenter v. United States, 138 S. Ct. 2206, 2217 (2018). Mapping a mobile

device’s location history creates an “all-encompassing record” of the owner’s whereabouts and

constitutes a Fourth Amendment violation. Id.

       71.     No different from Carpenter, here, DPH’s App enables location tracking of an

Android phone by the Commonwealth of Massachusetts and thus constitutes a Fourth Amendment

search. The Commonwealth is indiscriminately conducting a search of all individuals with Android

devices who reside in or have passed through Massachusetts between June 15, 2021, and present

day. These searches constitute clear Fourth Amendment violations.

       72.     A Fourth Amendment search also occurs “when the government: (1) trespasses

upon a constitutionally protected area, (2) to obtain information.” Taylor v. City of Saginaw, 922

F.3d 328, 332 (6th Cir. 2019) (citing United States v. Jones, 565 U.S. 400, 404 (2012)).

       73.     DPH has secretly installed an unwanted App onto the Android devices of over a

million individuals for the purpose of gathering information about those individuals. Each such

installation is a trespass to obtain information and thus constitutes a Fourth Amendment search.

These searches constitute clear Fourth Amendment violations.

       74.     42 United States Code § 1983 provides a cause of action for any person whose

Constitutional rights are violated by state action.

       75.     Accordingly, Defendants’ illegal and unconstitutional installation of the Contact

Tracing App must be enjoined and set aside. See U.S. Const. amend. IV.




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         Count II: Violation Article XIV of the Massachusetts Declaration of Rights

        76.     Plaintiffs reallege and incorporate by reference the foregoing allegations as if fully

set forth herein.

        77.     Article XIV of the Massachusetts Declaration of Rights provides individuals with

“a right to be secure from all unreasonable searches.” Mass. Const. pt. I, § I, art. XIV. “Privacy

rights under [Article XIV] are at least as extensive as those under the Fourth Amendment.” Garcia

v. Commonwealth, 486 Mass. 341, 350 (2020).

        78.     A search occurs under Article XIV when an individual has a subjective expectation

of privacy, and that expectation of privacy is one that society views as reasonable. See

Commonwealth v. Augustine, 467 Mass. 230, 241 (2014). Obtaining an individual’s location and

personal data from a mobile device is a search. Id. at 255.

        79.     DPH’s Contact Tracing App indiscriminately obtains location data from Android

devices and thus implements searches in clear violation of Article XIV.

        80.     “Regardless of whether there is an intrusion on a reasonable expectation of privacy,

a search also occurs when the government … obtains information by physically intruding on

persons, houses, papers of effects[.]” Garcia, 486 Mass. at 350 (quotation marks and citation

omitted).

        81.     Android devices are “effects” protected under Article XIV. DPH intruded on such

effects when it worked with Google to secretly install its Contact Tracing App onto citizens’

Android devices without their awareness or permission. Such installations thus constitute searches

in clear violation of Article XIV.

        82.     Accordingly, Defendants’ illegal and unconstitutional installation of its Contact

Tracing App must be enjoined. See Mass. Const. pt. I, § I, art. XIV.



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Count III: 42 U.S.C. § 1983 - Uncompensated Takings in violation of the Fifth Amendment
                                 to the U.S. Constitution

        83.     Plaintiffs reallege and incorporate by reference the foregoing allegations as if fully

set forth herein.

        84.     The U.S. Constitution protects individuals from having their private property

“taken for public use, without just compensation.” U.S. Const. amend. V. The Takings Clause has

been incorporated against the States.

        85.     A per se taking occurs when the government effects a “physical occupation of

property,” even if the occupied space is small and there is “minimal economic impact.” Loretto v.

Teleprompter Manhattan CATV Corp., 458 U.S. 419, 434 (1982); see also Cedar Point Nursery

v. Hassid, 141 S. Ct. 2063, 2066, 2072 (2021).

        86.     The “physical occupation” principle applies where the government occupies digital

storage space of an individual’s mobile device. A taking occurs—and compensation is due— even

when the amount of digital storage space taken is small, the duration is temporary, and the

economic impact is minimal.

        87.     DPH occupied the digital storage of private mobile devices when it worked with

Google to secretly install its Contact Tracing App onto citizens’ mobile devices.

        88.     The secret installation of the Contact Tracing App constitutes a taking under the

Fifth Amendment for which just compensation is due but was never offered nor provided.

        89.     42 United States Code § 1983 provides a cause of action for any person whose

Constitutional rights are violated by state action.

        90.     Accordingly, Defendants’ conduct should be declared an uncompensated and thus

unconstitutional taking of private property. See U.S. Const. amend. V.




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      Count IV: Uncompensated Appropriation under Article X of the Massachusetts
                               Declaration of Rights

        91.     Plaintiffs reallege and incorporate by reference the foregoing allegations as if fully

set forth herein.

        92.     Article X of the Massachusetts Declaration of Rights states that “whenever the

public exigencies require that the property of any individuals should be appropriated for public

uses, he shall receive a reasonable compensation thereof.” Mass. Const. pt. I, § I, art. X.

        93.     “Appropriating a portion of property … is nonetheless an appropriation requiring

compensation.” Dimino v. Sec’y of Com., 427 Mass. 704, 709 n.5 (1998) (citing Loretto, 458 U.S.

at 430).

        94.     DPH appropriated the digital storage of private mobile devices when it worked with

Google to secretly install its Contact Tracing App onto citizens’ mobile devices. This installation

constitutes an appropriation under Article X for which reasonable compensation is due.

        95.     Accordingly, Defendants’ conduct should be declared to be an appropriation of

private property for which compensation is required. See Mass. Const. pt. I, § I, art. X.

                            Count V: Ultra Vires Government Action

        96.     Plaintiffs reallege and incorporate by reference the foregoing allegations as if fully

set forth herein.

        97.     “[A] state officer may be said to act ultra vires [] when he acts ‘without any

authority whatever.’” N.H. Ins. Guar. Ass’n v. Markem Corp., 424 Mass. 344, 353 (1997).

        98.     Moreover, a state “agency may not exceed those powers and obligations expressly

conferred on it by statute or reasonably necessary to carry out the purposes for which the statute

was enacted.” Mass. Fed’n of Tchrs., AFT, AFL-CIO v. Bd. of Educ., 436 Mass. 763, 773 (2002).




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        99.     An agency’s ultra vires conduct is void and must be enjoined. See New England

Power Generators Ass’n, Inc. v. Dep’t of Env’t Prot., 480 Mass. 398, 407-08 (2018).

        100.    No statute authorizes DPH to install software of any sort onto individuals’ mobile

devices without their consent or awareness, let alone secretly install the Contact Tracing App that

exposes location and personal data. To the contrary, such secret installation is prohibited under

both federal and Massachusetts law. See 18 U.S.C. § 1030(a)(2); Mass. Gen. Laws Ann. ch. 266,

§ 120F.

        101.    Nor is secret installation of the Contact Tracing App reasonably necessary to carry

out any purpose of DPH’s enabling act. See Mass. Gen. Laws Ann. ch. 17.

        102.    Accordingly, Defendants’ initial and continued installations of the Contact Tracing

App onto Android devices without owners’ awareness or permission should be declared to be ultra

vires and enjoined.

                          Count VI: Common Law Trespass to Chattel

        103.    Plaintiffs reallege and incorporate by reference the foregoing allegations as if fully

set forth herein.

        104.    Improper interference with the use and enjoyment of private property is a common

law tort in the Commonwealth of Massachusetts. See Smith v. Wright, No. 12-ADMS-10032, 2013

WL 1042544 (Mass. App. Ct. 2013).

        105.    DPH may be enjoined from committing trespassory torts against private property.

See Lane v. Commonwealth, 401 Mass. 549, 552 (1988) (“We can think of no basis for recognizing

some form of governmental immunity that would prevent issuance of an injunction against an

ongoing wrong committed systematically and intentionally by a governmental agency for the

continuing benefit of the Commonwealth.”).



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        106.    Plaintiffs each own one or more personal Android mobile devices.

        107.    DPH worked with Google to install its Contact Tracing App onto Plaintiffs’

personal mobile devices without Plaintiffs’ knowledge or permission. The Contact Tracing App

causes the mobile device to broadcast via Bluetooth, which rapidly drains the device’s batteries.

        108.    This function interfered with Plaintiffs’ use and enjoyment of their private mobile

devices by taking up limited storage space and by causing batteries to drain more rapidly. It

therefore constitutes trespass to chattel under Massachusetts common law.

        109.    Accordingly, Defendants’ conduct should be declared unlawful, and Defendants

should be enjoined from any further trespassory installations of their Contact Tracing App.

                    Count VII: Violation of the Computer Fraud and Abuse Act

        110.    Plaintiffs reallege and incorporate by reference the foregoing allegations as if fully

set forth herein.

        111.    The Computer Fraud and Abuse Act (“CFAA”) makes it unlawful to “intentionally

access[] a computer without authorization or [to] exceed[] authorized access and thereby …

obtain[] information from any protected computer.” 18 U.S.C. § 1030(a)(2).

        112.    A “protected computer” under the CFAA includes any computer “which is used in

or affecting interstate or foreign commerce or communication.” Id. § 1030(e)(2). Plaintiffs’

Android devices are protected computers used in interstate commerce because they are connected

to the internet. See United States v. Trotter, 478 F.3d 918, 921 (8th Cir. 2007) (“With a connection

to the Internet, the … computers were part of a system that is inexorably intertwined with interstate

commerce.”).

        113.    DPH’s Contact Tracing App is designed to obtain information from Plaintiffs’

Android devices, including information regarding personal contacts, movement, and health status.



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        114.    Installing the App on Plaintiffs’ Android devices without their knowledge or

awareness constitutes unauthorized access.

        115.    Senior officials in DPH may be enjoined from intentionally committing legal

wrongs against private parties. Lane, 401 Mass. at 552.

        116.    Accordingly, Defendants’ secret installation of the Contact Tracing App violates

the CFAA and should be enjoined. See 18 USC § 1030(a)(2), (g).

                    Count VIII: Unauthorized Access to Computer Systems

        117.    Plaintiffs reallege and incorporate by reference the foregoing allegations as if fully

set forth herein.

        118.    Massachusetts law criminalizes unauthorized access to computer systems and

states: “Whoever, without authorization, knowingly accesses a computer system by any means, …

shall be punished by imprisonment in the house of correction for not more than thirty days or by a

fine of not more than one thousand dollars, or both.” Mass. Gen. Laws Ann. ch. 266 § 120F.

        119.    Installing the App on Plaintiffs’ Android devices without their knowledge or

awareness constitutes unauthorized access in violation of § 120F.

        120.    Senior officials in DPH may be enjoined from intentionally committing legal

wrongs against private parties. Lane, 401 Mass. at 552.

        121.    Accordingly, Defendants’ conduct amounts to a crime under Massachusetts law

and should be enjoined.

                                  Count IX: Invasion of Privacy

        122.    Plaintiffs reallege and incorporate by reference the foregoing allegations as if fully

set forth herein.




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       123.    Massachusetts law provides that “[a] person shall have a right against unreasonable,

substantial or serious interference with his privacy.” Mass. Gen. Laws Ann. ch. 214, § 1B.

       124.    A historical record of an individual’s past movements and personal associations are

private facts of a highly personal or intimate nature.

       125.    DPH’s Contact Tracing App exposes data regarding Android device owners’ past

movements and personal associations to DPH as well as countless other app developers without

the owners’ consent.

       126.    No legitimate interest justifies such disclosure.

       127.    Senior officials in DPH may be enjoined from intentionally committing legal

wrongs against private parties. Lane, 401 Mass. at 552.

       128.    Accordingly, secret installation of the Contact Tracing App is an invasion of

privacy under Massachusetts law and should be enjoined.

                                       RELIEF REQUESTED

   WHEREFORE, Plaintiffs respectfully request the following relief on behalf of themselves and

the class of over one million Android users which they represent:

           a. An injunction against continued installation of the DPH’s Contact Tracing App on

               private mobile devices without the knowledge or permission of device owners.

           b. An injunction requiring DPH to work with Google to uninstall its Contact Tracing

               App from private Android mobile devices where the device owner did not give

               permission for such installation.

           c. A declaration that clandestine installations of DPH’s Contact Tracing App

               constitute unreasonable searches in violation of the Fourth Amendment of the U.S.

               Constitution and Article XIV of the Massachusetts Declaration of Rights.



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  d. A declaration that clandestine installations of DPH’s Contact Tracing App

     constitute unlawful takings of private property under the Fifth Amendment of the

     U.S. Constitution and unlawful appropriations under Article X of the Massachusetts

     Declaration of Rights.

  e. A declaration that clandestine installations of DPH’s Contact Tracing App are ultra

     vires.

  f. A declaration that clandestine installations of DPH’s Contact Tracing App

     constitute unlawful trespasses to chattel under Massachusetts common law.

  g. A declaration that clandestine installations of DPH’s Contact Tracing App are

     unlawful and violate federal and Massachusetts computer-crime statutes. See 18

     U.S.C. § 1030(a)(2); Mass. Gen. Laws Ann. ch. 266, § 120F.

  h. A declaration that clandestine installations of DPH’s Contact Tracing App

     constitute unlawful interference with privacy under Massachusetts common law

     and Mass. Gen. Laws Ann. ch. 214, § 1B.

  i. All costs, expenses, and attorney fees allowed under the Equal Access to Justice

     Act, 5 U.S.C. § 504, 28 U.S.C. § 2412 and/or 42 U.S.C. § 1988(b).

  j. Nominal damages of $1.

  k. Such other relief as this Court deems just and equitable.




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November 14, 2022                  Respectfully submitted,
                                   /s/ Peter Antonelli
                                   Thomas H. Curran, BBO# 550759
                                   tcurran@curranantonelli.com
                                   Peter Antonelli, BBO# 661526
                                   pantonelli@curranantonelli.com
                                   Curran Antonelli, LLP
                                   Ten Post Office Square, Suite 800 South
                                   Boston, MA 02109
                                   Telephone: (617) 207-8670
                                   Fax: (617) 850-9001

                                   Sheng Li (pro hac vice forthcoming)
                                   Margaret A. Little (pro hac vice forthcoming)
                                   New Civil Liberties Alliance
                                   1225 19th St. NW, Suite 450
                                   Washington, DC 20036
                                   Telephone: 202-869-5210

                                   Attorneys for Plaintiffs




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